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       Attorneys for Proposed Intervenor


                IN THE UNITED STATES DISTRICT COURT
          FOR THE DISTRICT OF MONTANA, MISSOULA DIVISION



 MATT BARKER, TERRIL                       Cause No.: CV-18-179-DLC
 BERNHARDT, DWAYNE
 BINKLEY, MARK BOESCH,
 MIKE CONRAD, RANDALL
 DOANE, KEN DURIE, DAMIAN
                                           UNCONTESTED MOTION TO
 EDWARDS, MIKE ELLEN,
                                           INTERVENE
 DANIEL ENDECOTT, RYAN
 EWER, CHUCK FYFE, MIKE
 GATES, JASON GORDON, RICK
 HAJEK, DAVIS B. HARRIS,
 THOMAS HARTZELL, RANDY
 HILL, TRAVIS HILL, GRAHAM
 HYDE, TYLER JARVIS, GERALD
 JELLETICH, PAUL KENNY,
 ROBERT MATTIJETZ, JEFF
 MCCHRISTIAN, CHRIS
 MCPHERSON, LESTER
 MEINZEN, ERIN MESSEX,
 MARK MILLER, BRUCE
 MILLER, ISAAC MILSTEAD,
 DAVID NORDMAN, RANDY

UNCONTESTED MOTION TO INT ERVENE                                             PAGE I.
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 PHILLIPS, DENNIS K. RAMEY,
 GREGORY RAUER, MILES
 RAUER, MICHAEL RYKER,
 ALLEN SCHMIDT, BRETT
 SHARBONO, ROB SIMS,
 WILLIAM "BERT" SMEAD
                        '
 MARVIN SNEDIGAR, JONI
 SOLANDER, JASON SPEK,
 ROGER STEVENS, KI
 STODDARD, RICHARD WAYNE
 SUMMERS, STEVE TENOLD,
 KENNETH TICHENOR, ZACH
 TITECA, DAN WALDO, DON
 WHITEHAIR AND PATRICK
 WURSTER
                Petitioners,
        V.

 SELWAY CORPORATION and the
 SELWAY CORPORATION
 EMPLOYEE STOCK OWNERSHIP
 PLAN,
                Respondents,
        and
 MAX DOWNING
                Proposed Intervenor.

       Proposed Intervenor Max M. Downing ("Mr. Downing") hereby moves to

intervene as a Respondent-Intervenor in this action. Mr. Downing's intervention is

warranted under Fed.R.Civ.P. 24(a)(2).




UNCONTESTED MOTION TO INTERVENE                                            PAGE2.
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       As set forth in the accompanying brief, intervention is necessary because

Mr. Downing is a party to the settlement that is the subject of this case and thus has

an interest in the subject of this action. Further, it is necessary for Mr. Downing to

monitor and participate in the proceedings in order to be assured that the terms of

the settlement are accurately presented to and approved by the Court.

       Pursuant to Local Rule 7.l(c)(l), the undersigned counsel has contacted

counsel for Petitioners and Respondent Selway Corporation and is advised that the

do not contest this motion.

       DATED this 15th day ofNovember, 2018.
                                        REEP, BELL, LAIRD & JASPER, P.C.




                                                      e
                                           Attorneys for Proposed Intervenor




UNCONTESTED MOTION TO INTERVENE                                                PAGE 3.
